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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA Case No.: 23-CR-220 (TJK)

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v. 18 U.S.C. § 1752(a)(2)
BRANDON BRADSHAW,
Defendant. :
STATEMENT OF OFFENSE

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Calumbia, and the defendant, Brandon Bradshaw,
with the concurrence of the defendant's attorney, agree and stipulate to the below factual basis for
the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that
the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by USCP. Only authorized
people with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the exterior plaza of the Capito! was closed to members of the
public. The grounds around the Capitol were posted and cordoned off, and the entire area as well

as the Capitol building itself were restricted as that term is used in Title 18, United States Code,

Section 1752 due to the fact that the Vice President and the immediate family of the Vice President,

among others, would be visiting the Capitol complex that day.

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3. On January 6, 2021, 2 joint session of the United States Congress convened at the
Capitol. During the joint session, elected members of the United. States House of Representatives
and the United States Senate were meeting in separate chambers of the Capitol to certify the vote
count of the Electoral College of the 2020 Presidential Election, which had taken place on Tuesday,
November 3, 2020. The joint session began at approximately 1:00 PM. Shortly thereafter, by
approximately 1:30 PM, the House and Senate adjourned to separate chambers to resolve a
particular-objection. Vice President Mike Pence was present and presiding, first in the joint session,
and then in the Senate chamber.

4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol
and the proceedings underway inside.

5. At approximately 2:00 PM, certain individuals in the crowd forced their way
through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd
advanced to the exterior fagade of the building. Officers with the D.C. Metropolitan Police
Department were called to assist officers of the USCP who were then engaged in the performance
of their official duties. The crowd was not lawfully authorized to enter or remain in the building
and, prior to entering the building, no members of the crowd submitted to security screenings or
weapons checks as required by USCP officers or other authorized security officials.

6. At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

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2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows
and by assaulting members of law enforcement, as others in the crowd encouraged and assisted
those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more
than $2.9 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and of the Senate, including the President of the Senate, Vice President Pence,
were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the Capitol—including the danger posed by individuals who had entered the Capitol without any
security screening or weapons check—-Congressional proceedings could not resume until after
every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that
the building was secured. The proceedings resumed at approximately 8:00 PM after the building
had been secured. Vice President Pence remained in the Capitol from the time he was evacuated
from the Senate Chamber until the session resumed.

The Defendant’s Participation in the January 6, 2021, Capitol Riot

8. The defendant, Brandon Bradshaw, lives in San Antonio, Texas. On or about
January 5, 2021, Bradshaw traveled to Washington, D.C. The purpose of Bradshaw’s trip to
Washington, D.C. was to protest Congress’ certification of the Electoral College.

9. On January 6, 2021, after attending the “Stop the Steal” rally, Bradshaw marched

to the U.S. Capitol.

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10. While on the west side of the Capitol grounds, Bradshaw confronted a line of
police officers, including officers from the Metropolitan Police Department (“MPD”) attempting
to control the rioters. Bradshaw confronted the officers, shouting at them through a bullhorn.

11. | Atapproximately 2:02 p.m., Bradshaw grabbed an MPD officer’s baton with his
right hand and held on for several seconds.

12. At approximately 2:48 p.m., Bradshaw entered the U.S. Capitol through a broken
window near the Senate Wing Door.

13. Bradshaw remained in the area immédiately inside the Senate Wing Door with
other rioters for approximately 54 minutes. During that time, he continuously confronted police
officers.

14. At approximately 3:42 p.m., officers forced Bradshaw out of the U.S. Capitol
building through the Senate Wing Door. Bradshaw was one of the last rioters to leave the Senate

Wing before it was secured.

Elements of the Offense
15. The parties agree that the offense of Disorderly and Disruptive Conduct in a
Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(2), requires the following
elements:
a. First, the defendant engaged in disorderly or disruptive conduct in, or in proximity
to, any restricted building or grounds.

b. Second, the defendant did so knowingly, and with the intent to impede or disrupt

the orderly conduct of Government business or official functions.

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c. Third, the defendant’s conduct occurred when, or so that, his conduct in fact
impeded or disrupted the orderly conduct of Government business or official

functions.

Defendant's Acknowledgments
16. Bradshaw knowingly and voluntarily admits to the elements as set forth above.

Specifically, Bradshaw admits that he did unlawfully and knowingly, and with the intent to impede
or disrupt the orderly conduct of Government business, engage in disorderly or disruptive conduct
in, or in proximity to, the U.S. Capito! Building and its ground, where the Vice President was and
would be temporarily visiting, without lawful authority to do so, and where such conduct impeded
or disrupted the orderly conduct of Government business.

Respectfully submitted,

MATTHEW M. GRAVES

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D.C. Bar No. 481052

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DEFENDANT’S ACKNOWLEDGMENT

I, Brandon Bradshaw, have read this Statement of the Offense and have discussed it with
my attorney. | fully understand this Statement of the Offense. | agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. | do this voluntarily and of my
own free will. No threats have been made to me nor am | under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.

Date: [1-2 } -lo2,3

Brandon Bradshaw
Defendant

ATTORNEY'S ACKNOWLEDGMENT

| have read this Statement of the Offense and have reviewed it with my client fully. | concur
in my client's desire to adopt this Statement of the Offense as true and accurate.

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Clarissa Fernandez Pratt
Attorney for Defendant

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